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Wé>lt)of Texas
UNITED sTATEs DIsTRlCT CoURT _
FoR THE soUTHERN DISTRICT oF TEXAS JUL 8 2915
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LAREDo olvcslo~
ADRIAN TELLo and MARY ANN §
VASQUEZ TELLo, §
§
Plaintiffs, §
§ CIVIL ACTION No. 5:15-€\/-00057
v. §
§
ASI LLoYDs and JACK FIELDER, §
§
Defendants. §

ORDER GRANTING JOINT MOTION T() DISMISS WITH PREJUDICE
Plaintiffs Adrian Tello and Mary Ann Vasquez Tello and Defendants ASl Lloyds and
lack Fielder jointly move to dismiss this action with prejudice, each party bearing its own costs.
After considering the Motion, this Court is of the opinion that the Motion should be, in all things,
GRANTED.
IT lS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiffs and
Defendants’ Joint Motion to Dismiss with Prejudice in its entirety is hereby GRANTED.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all costs of Court and

attorneys’ fees shall be taxed to the party incurring same. /-~

SIGNED this § )Jé day of
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JUW€E PRESIDING 6

 

Order Granting Joint Motion to Dismiss with Prejudice Page l
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